 1
 2
 3
 4
 5
 6
 7
 8
 9                     IN THE UNITED STATES DISTRICT COURT
10                         FOR THE DISTRICT OF OREGON
11   WAYNE McFARLIN,               )
                                   )
12                  Plaintiff,     )
                                   )       No.   CV-06-1594-HU
13        v.                       )
                                   )
14   EDWARD GORMLEY, an individual;)
     CITY of McMINNVILLE, a        )
15   Municipal Corporation; CITY   )
     COUNTY INSURANCE SERVICES     )
16   TRUST; ROD BROWN, an individ- )       OPINION & ORDER
     ual; PUBLIC SAFETY LIABILITY )
17   MANAGEMENT, INC., an Oregon   )
     corporation; WALDO FARNHAM,   )
18                                 )
                    Defendants.    )
19                                 )
20   Terrence Kay
     TERRENCE KAY, P.C.
21   3155 River Road S., Suite 150
     Salem, Oregon 97302
22
          Attorney for Plaintiff
23
     Karen O'Kasey
24   HOFFMAN, HART & WAGNER, LLP
     1000 S.W. Broadway
25   Portland, Oregon 97205
26        Attorney for Defendants Ed Gormley and City of McMinnville
27   / / /
28   / / /

     1 - OPINION & ORDER
 1   Robert S. Wagner
     Stan LeGore
 2   MILLER & WAGNER LLP
     2210 N.W. Flanders Street
 3   Portland, Oregon 97210-3408
 4        Attorney for Defendants City County Insurance Services
          Trust, Rod Brown, and Public Safety Liability Management
 5
     Walter H. Sweek
 6   Wendy M. Margolis
     James M. Maldonado
 7   COSGRAVE VERGEER KESTER LLP
     805 S.W. Broadway, 8th Floor
 8   Portland, Oregon 97205
 9        Attorney for Defendant Waldo Farnham
10   HUBEL, Magistrate Judge:
11        Plaintiff Wayne McFarlin, the former Chief of Police for
12   defendant City of McMinnville ("the City"), brings various claims
13   against the City and others for actions culminating in plaintiff's
14   resignation as Chief of Police in October 2005.     Defendants move
15   for summary judgment.    Plaintiff moves to conform the pleadings to
16   evidence in the record on the issue of providing a tort claim
17   notice to certain defendants.    All parties have consented to entry
18   of final judgment by a Magistrate Judge in accordance with Federal
19   Rule of Civil Procedure 73 and 28 U.S.C. § 636(c).
20        I grant the summary judgment motions and deny plaintiff's
21   motion to conform.      All defendants also move to strike certain
22   evidence submitted by plaintiff in opposition to the summary
23   judgment motions.    I deny the motions to strike as moot.
24                                 BACKGROUND
25        Plaintiff was hired as police chief for the City in June 2000.
26   Previously, he worked for twenty-five years at the Salem police
27   department, rising through the ranks from an officer, to corporal,
28   sergeant, and lieutenant.    He has a bachelor's degree in business

     2 - OPINION & ORDER
 1   administration and personnel management.
 2        Defendant Edward Gormley is the Mayor of the City.               Defendant
 3   Rod Brown is a former Chief of Police for the City, who resigned in
 4   2000.     He started his own consulting business, defendant Public
 5   Safety Liability Management, Inc. (PSLM), through which he provides
 6   risk management services to law enforcement agencies throughout
 7   Oregon.     His primary client is defendant City County Insurance
 8   Services Trust (CCIST), a public entity which coordinates insurance
 9   services for public bodies.          Defendant Waldo Farnham is a private
10   citizen;    he   has   been    the   sole   owner   of   Farnham    Electric   in
11   McMinnville since 1968.
12        The relevant facts in this case begin in October 2005, when
13   Matt Scales, newly-elected president of the police union in the
14   City, talked to Rod Brown about problems in the police department.
15   After they spoke, Brown drove to Gormley's plumbing business to
16   tell Gormley what he just heard from Scales.             Gormley was under the
17   impression from City Manager Kent Taylor, that things in the police
18   department were fine.         Brown suggested that Scales come personally
19   to talk with Gormley, and after Brown called Scales, Scales came to
20   Gormley's office and repeated to Gormley what he had told Brown.
21        Gormley     had   apparently     previously     received      some   written
22   complaints about plaintiff, including an October 9, 2005 letter and
23   another undated letter.         Pltf's Exhs. 2, 2A, 3, 4.          Gormley kept
24   these complaints at his plumbing business office and did not share
25   them with plaintiff.
26        Before Scales spoke to Brown, Brown knew that Farnham was
27   unhappy with plaintiff.           Farnham was upset with plaintiff for
28   failing to obtain a drug sniffing dog for the local high school.

     3 - OPINION & ORDER
 1   As a result, Farnham decided to do his own personal "review," or
 2   "investigation," of plaintiff's accomplishments.       He initially
 3   spoke to Brown about it because Brown was in Farnham's office,
 4   taking care of some electrical business.      Farnham conducted his
 5   investigation by making his pager number available to people and
 6   indicating that they could contact him.     Brown gave out Farnham's
 7   pager number to a couple of people.
 8        Shortly after Scales met with Gormley, Taylor invited Brown to
 9   a meeting to discuss the issues in the police department and what
10   could be done about them.   In addition to Taylor and Brown, others
11   present were Gormley, Farnham, City Council President Rick Olson,
12   and Yamhill County Sheriff Jack Crabtree.    The meeting occurred on
13   October 20, 2005, or October 21, 2005.    According to Brown, no one
14   asked that plaintiff's resignation be sought, or that he be fired,
15   terminated, or replaced.    However, following the meeting, Taylor
16   asked Brown to begin searching for a possible interim police chief.
17        Gormley states that in late October 2005, he learned from
18   Scales that the police union was going to take a vote of no-
19   confidence against plaintiff.   He also learned from the editor or
20   publisher of the local newspaper, that the paper was going to
21   publish an article critical of plaintiff and the police department.
22        According to Scales, at the time he met with Gormley, a no-
23   confidence vote had not yet actually been scheduled.    It had been
24   talked about, but the union membership did not formally discuss it
25   until a union meeting on November 1st or 2d, 2005.
26        Also in October, plaintiff told Gormley that plaintiff was
27   applying for the Chief of Police position in Salem. In mid-October
28   2005, plaintiff told Gormley that he was a finalist for that

     4 - OPINION & ORDER
 1   position.
 2        Gormley was concerned that the no-confidence vote and the
 3   expected newspaper article might negatively affect plaintiff's
 4   application for the chief's position with the City of Salem.                  On
 5   October 24, 2005, Gormley met with plaintiff, Taylor, and Olson at
 6   Taylor's office in City Hall.         According to plaintiff, Gormley
 7   stated, "Wayne, we need your resignation."              Gormley also told
 8   plaintiff that the union "has told us" that it had scheduled a no-
 9   confidence vote and that it was imminent.           Gormley told plaintiff
10   he wanted to save plaintiff the embarrassment of going through
11   that.    Gormley also stated that plaintiff was "just not a good fit
12   for the City of McMinnville," or words to that effect.               Gormley
13   also apparently mentioned "personnel issues."
14        During the October 24, 2005 meeting, neither Gormley, Taylor,
15   nor Olson told plaintiff that if he did not resign, he would be
16   fired.    Plaintiff alleges that while Gormley did not use words to
17   that effect, he "clearly communicated" it.           Gormley did not tell
18   plaintiff that the City Council was demanding his resignation.
19   Plaintiff, however, made that assumption when Gormley used the word
20   "we," when demanding plaintiff's resignation.
21        Plaintiff submitted a letter of resignation the next day, in
22   a meeting with Olson and Taylor.           On October 26, 2005, plaintiff
23   received    via   email,   he   believes    from   Taylor,   a   draft   of   a
24   "Resignation and Separation Agreement and Release of Claims" ("the
25   Separation/Release Agreement").       Plaintiff printed it out and made
26   changes to it.       He proposed that the release be mutual and
27   requested severance pay.         He also discussed continuing medical
28   benefits.

     5 - OPINION & ORDER
 1        On October 28, 2005, plaintiff signed the Separation/Release
 2   Agreement in Taylor's office. In addition to other provisions, the
 3   Separation/Release Agreement provided that plaintiff would continue
 4   working through November 14, 2005, and then from that date, through
 5   November 30, 2005, he would be placed on leave with pay and
 6   benefits.
 7        On November 1st or 2d, 2005, Brown spoke to the police union
 8   about unity in the police department.       Any additional relevant
 9   facts are discussed below.
10                                STANDARDS
11        Summary judgment is appropriate if there is no genuine issue
12   of material fact and the moving party is entitled to judgment as a
13   matter of law.   Fed. R. Civ. P. 56(c).   The moving party bears the
14   initial responsibility of informing the court of the basis of its
15   motion, and identifying those portions of "'pleadings, depositions,
16   answers to interrogatories, and admissions on file, together with
17   the affidavits, if any,' which it believes demonstrate the absence
18   of a genuine issue of material fact."     Celotex Corp. v. Catrett,
19   477 U.S. 317, 323 (1986) (quoting Fed. R. Civ. P. 56(c)).
20        "If the moving party meets its initial burden of showing 'the
21   absence of a material and triable issue of fact,' 'the burden then
22   moves to the opposing party, who must present significant probative
23   evidence tending to support its claim or defense.'" Intel Corp. v.
24   Hartford Accident & Indem. Co., 952 F.2d 1551, 1558 (9th Cir. 1991)
25   (quoting Richards v. Neilsen Freight Lines, 810 F.2d 898, 902 (9th
26   Cir. 1987)).   The nonmoving party must go beyond the pleadings and
27   designate facts showing an issue for trial.    Celotex, 477 U.S. at
28   322-23.

     6 - OPINION & ORDER
 1        The substantive law governing a claim determines whether a
 2   fact is material.     T.W. Elec. Serv. v. Pacific Elec. Contractors
 3   Ass'n, 809 F.2d 626, 630 (9th Cir. 1987).        All reasonable doubts as
 4   to the existence of a genuine issue of fact must be resolved
 5   against the moving party.      Matsushita Elec. Indus. Co. v. Zenith
 6   Radio,   475 U.S. 574, 587 (1986).    The court should view inferences
 7   drawn from the facts in the light most favorable to the nonmoving
 8   party.   T.W. Elec. Serv., 809 F.2d at 630-31.
 9        If the factual context makes the nonmoving party's claim as to
10   the existence of a material issue of fact implausible, that party
11   must come forward with more persuasive evidence to support his
12   claim than would otherwise be necessary.         Id.; In re Agricultural
13   Research and Tech. Group, 916 F.2d 528, 534 (9th Cir. 1990);
14   California Architectural Bldg. Prod., Inc. v. Franciscan Ceramics,
15   Inc., 818 F.2d 1466, 1468 (9th Cir. 1987).
16                                  DISCUSSION
17        Plaintiff brings the following claims against Gormley and the
18   City: (1) a state law claim for fraud, requesting rescission,
19   brought against the City only; (2) a state law claim for fraud,
20   seeking money damages; (3) a federal claim under 42 U.S.C. § 1983
21   alleging a due process violation; (4) a state law claim for
22   interference with contract, brought against Gormley only; (5) a
23   state law breach of employment contract claim against the City; (6)
24   a state law wage claim against the City pursuant to Oregon Revised
25   States § (O.R.S.) 652.150; (7) a state law "conspiracy to defraud"
26   claim brought against Gormley and the City; (8) a state law
27   "conspiracy   to   interfere   with   contract    rights"   claim   brought
28   against Gormley and the City; (9) a state law "conspiracy to

     7 - OPINION & ORDER
 1   interfere with prospective business relations" claim against the
 2   City and Gormley; (10) a common law wrongful discharge claim
 3   against the City; (11) a state law negligence claim against the
 4   City and Gormley; (12) a state law defamation claim against the
 5   City and Gormley; and (13) a declaratory judgment claim under state
 6   law, requesting that the court declare that the damages cap set
 7   forth in the Oregon Tort Claims Act does not apply to the state law
 8   claims against Gormley.
 9        As against Brown and PSLM, plaintiff brings claims of (1)
10   intentional     interference        with     contract;       (2)   intentional
11   interference with prospective business relations; (3) the three
12   conspiracy     claims   recited     in     the   preceding    paragraph;    (4)
13   negligence; and (5) defamation.            As to CCIST, plaintiff brings a
14   negligence claim and the declaratory judgment claim recited in the
15   preceding paragraph.
16        As against Farnham, plaintiff brings claims of (1) intentional
17   interference    with    contract;    (2)    intentional   interference     with
18   prospective business relations' (3) the three conspiracy claims
19   recited in the preceding paragraphs; (4) negligence; and (5)
20   defamation.
21   I.   Validity of Separation/Release Agreement as to Gormley
          & the City
22
          I address issues regarding the Separation/Release Agreement
23
     first because if it is valid, it bars all of plaintiff's claims
24
     against   the    City    and   Gormley.          The   application    of    the
25
     Separation/Release Agreement to other defendants is discussed in
26
     the next section.
27
          In pertinent part, the Separation/Release Agreement provides:
28

     8 - OPINION & ORDER
 1        This Agreement is by and between the City of McMinnville,
          a municipal corporation of the State of Oregon
 2        (hereinafter City) acting by and through its City Manager
          and Wayne McFarlin, an employee of the City (hereinafter
 3        Employee).
 4        . . .
 5        Section 2. On November 30, 2005, City will pay Employee,
          as severance, a lump sum equal to three times Employee's
 6        regular monthly base salary . . . plus an amount equal to
          three times the monthly amount City pays toward
 7        Employee's health insurance premium . . . .
 8        . . .
 9        Section 4. Employee hereby releases City, its officers,
          agents, employees, representatives, and insurers from any
10        and all claims known or unknown arising out of Employee's
          employment with City and the termination of that
11        employment relationship through Employee's resignation.
          This release includes, but is not limited to, all claims
12        for additional salary or other forms of compensation, for
          pain and suffering damages, punitive damages, and all
13        other applicable statutory, contract, tort, or other
          theories based on common law or upon any statute dealing
14        with employment matters and discrimination in employment.
          . . .
15
          The release contained in this paragraph is intended to
16        operate in all judicial, non-judicial, and administrative
          forums for all matters related to Employee's employment
17        with City and shall act to bar all remedies for actions
          related to such employment including but not limited to
18        claims for money damages, injunctive relief or re-
          employment rights.
19
          Employee agrees not to lodge, file or bring any suit,
20        charge, complaint, or any other form of action or claim
          against City or its officers, agents, or employees
21        relating in any way to Employee's employment relationship
          with City.     Employee agrees not to request, or to
22        indirectly cause, any governmental agency or other person
          to commence any investigation or bring any action against
23        city, its officers, agents, or employees, and Employee
          waives any remedy or recovery in any action which may be
24        brought on Employee's behalf by any government agency or
          other person.
25
          The release contained in this section is intended by the
26        parties to be a full and complete release of all possible
          claims, and is to be construed by a court accordingly.
27
          . . .
28

     9 - OPINION & ORDER
 1        Section 7. Employee represents and acknowledges that in
          executing this Agreement, Employee does not rely and has
 2        not relied upon any representation or statement not set
          forth herein made by City, its officers, agents, or
 3        employees with regard to the subject matter, basis or
          effect of this Agreement.
 4
          Section 9. After having carefully read each provision of
 5        this Agreement, Employee and City have chosen to execute
          the Agreement. Employee and City know and understand the
 6        contents of the Agreement and have signed the Agreement
          as their own free act.
 7
          . . .
 8
          Section 11. EMPLOYEE REPRESENTS AND AGREES THAT EMPLOYEE
 9        FULLY UNDERSTANDS EMPLOYEE'S RIGHT TO DISCUSS ALL ASPECTS
          OF THIS AGREEMENT WITH WHOMEVER EMPLOYEE DESIRES, THAT
10        EMPLOYEE HAS EITHER DISCUSSED THIS AGREEMENT WITH
          WHOMEVER EMPLOYEE DESIRES OR CHOSEN NOT TO DISCUSS THIS
11        AGREEMENT, THAT EMPLOYEE HAS CAREFULLY READ AND FULLY
          UNDERSTANDS ALL OF THE PROVISIONS OF THIS AGREEMENT, AND
12        THAT EMPLOYEE IS VOLUNTARILY ENTERING INTO THIS
          AGREEMENT.
13
          PLEASE READ CAREFULLY.      THIS SEPARATION AGREEMENT
14        INCLUDES A RELEASE OF ALL KNOWN OR UNKNOWN CLAIMS.
15   Defts' Exh. 101 (appended to O'Kasey Affid.).
16        A settlement agreement is "'a contract in which one or more
17   parties agrees to abandon a claim or right.'" Graves v. Tulleners,
18   205 Or. App. 267, 279, 134 P.3d 990, 997 (2006) (quoting Lindgren
19   v. Berg, 307 Or. 659, 665, 772 P.2d 1336, 1339 (1989)).          "Release
20   agreements   are   favored   under   the   law   because   'certainty   and
21   judicial economy are served when parties can negotiate settlement
22   of their disputes with confidence that their settlement agreements
23   will be upheld and enforced by the courts.'"        Id. at 278, 134 P.3d
24   at 997 (quoting Lindgren, 307 Or. at 665, 772 P.2d at 1339.
25        A release is valid if one party specifically promises to
26   release the other party from liability for unanticipated claims.
27   See Patterson v. American Med. Sys., Inc., 141 Or. App. 50, 53, 916
28   P.2d 881, 882 (1996) (in the absence of a specific promise to

     10 - OPINION & ORDER
 1   release liability for known and unknown claims, a release is valid
 2   when there is both the knowledge of the existence of the claim and
 3   an intention to relinquish it). Here, plaintiff expressly released
 4   the City from all claims, known and unknown.
 5        Additionally, "a general release from all claims and demands
 6   is sufficient to bar a specific claim, unless the claim is excepted
 7   from the release agreement." Ristau v. Wescold, Inc., 318 Or. 383,
 8   389, 868 P.2d 1331, 1335 (1994).
 9        A release agreement is a contract subject to the rules of
10   contract construction and interpretation.        Id. at 387, 868 P.2d at
11   1333. If the terms are unambiguous, the construction is a question
12   for the court and is treated as a matter of law.            Id.    "Unambiguous
13   contracts   must   be    enforced   according   to   their        terms."    Id.
14   (internal quotation omitted).
15        Releases and settlements are "favored by the law," and are not
16   "rendered unenforceable either by ordinary mistakes or negligent
17   [mistakes] in the parties' knowledge and understandings when they
18   enter into them[.]" Walcutt v. Inform Graphics, Inc., 109 Or. App.
19   148, 151, 817 P.2d 1353, 1355 (1991) (citing Davis v. Brown, 280
20   Or. 561, 564, 571 P.2d 912, 914 (1977)).
21        The    City   and   Gormley    contend   that    the    terms     of   this
22   Separation/Release Agreement are clear and unambiguous. Thus, they
23   argue, enforcement of those terms bars the claims brought against
24   them.
25        Plaintiff     contends    that   because   the     Separation/Release
26   Agreement does not expressly bar a claim for fraud, concealment, or
27   nondisclosure, the agreement does not preclude his fraud claims.
28   I disagree.

     11 - OPINION & ORDER
 1          Plaintiff relies on Lindgren, which considered whether a
 2   release barred the plaintiffs from litigating whether the release
 3   itself was induced by the defendant's fraud.             The Oregon Supreme
 4   Court held that the fraud claim was barred, relying on express
 5   language in the release covering claims for "fraud, nondisclosure
 6   and misrepresentation" as to the particular joint venture at issue
 7   in the case, and on language applying the release to claims the
 8   parties "ever had or now has or later may have[.]"             307 Or. at 664-
 9   65, 772 P.2d at 1338-39.
10          Plaintiff contends that following Lindgren, if a release
11   agreement     does      not   expressly    release     claims     for     fraud,
12   nondisclosure, concealment, or misrepresentation, the agreement
13   does not bar such claims.       Plaintiff's argument takes Lindgren too
14   far.   While Lindgren held that the release at issue barred a fraud
15   in the inducement claim, the court did not address the result in
16   the absence of a specific reference to the release of a fraud claim
17   and thus, it did not hold that such a specific reference is
18   required for such a bar.
19          A   subsequent    case   by   the   Oregon    Supreme    Court   refutes
20   plaintiff's     argument.       In   Ristau,   the    Oregon    Supreme   Court
21   addressed whether a release precluded a claim of fraud in the
22   inducement of a contemporaneously executed stock sale agreement.
23   318 Or. at 385, 868 P.2d at 1332.
24          The court noted that the terms of the release agreement were
25   unambiguous.    Id. at 387, 868 P.2d at 1334.         The release agreement
26   barred "any and all claims, . . . whether known or unknown, now
27   existing."     Id. at 388, 868 P.2d at 1334.          The release agreement
28   acknowledged that all the other agreements, including the stock

     12 - OPINION & ORDER
 1   sale agreement, were effective substantially contemporaneously with
 2   the release agreement.    Thus, the court explained, the plaintiff's
 3   claims under O.R.S. 59.127, which accrued at the time of the
 4   "purchase," arose at the same time as the execution of the release
 5   agreement.    Because the release agreement and the stock sale
 6   agreement came into effect contemporaneously, the claim under
 7   O.R.S. 59.127 was "now existing" at the time that the release
 8   agreement was executed.    Id.
 9        The court rejected the plaintiff's argument that a release
10   does not bar claims arising contemporaneously with "delivery of the
11   release" unless expressly stated.         Id. at 389, 868 P.2d at 1334.
12   The court agreed with the plaintiff that a release which expressly
13   waived a claim for fraud in the inducement of that agreement would
14   be honored.   "[W]e will enforce an unambiguous release that covers
15   the claim at issue."   Id. at 389, 868 P.2d at 1335.     But, the court
16   continued, "[w]e decline to hold, however, that even an unambiguous
17   release agreement must include an explicit reference to fraud
18   claims arising contemporaneously with the release agreement in
19   order to bar recovery."   Id.    The court continued, "[a]s this court
20   held in Glickman v. Weston, 140 Or. 117, 125, 11 P.2d 281, 12 P.2d
21   1005 (1932), a general release from all claims and demands is
22   sufficient to bar a specific claim, unless the claim is excepted
23   from the release agreement."        Id.     Thus, "the mutual release
24   agreement bars plaintiff's claim that the stock sale agreement
25   fraudulently was induced in violation of ORS 59.127."       Id. at 390,
26   868 P.2d at 1335.
27        Ristau controls the outcome here.         The fact that there were
28   two agreements in Ristau is immaterial.         Plaintiff contends that

     13 - OPINION & ORDER
 1   misrepresentations and omissions occurred in the context of the
 2   separation    or   resignation       portion   of    the     Separation/Release
 3   Agreement.     His fraud in the inducement claim is based on his
 4   assertion that he would not have resigned had he not been misled by
 5   omissions and express misrepresentations.
 6        Plaintiff's fraud in the inducement claim is not directed to
 7   the release aspect of the Separation/Release Agreement.                     There is
 8   no argument that any misrepresentations were made, or that any
 9   facts were withheld, as to the release of claims.                     There is no
10   evidence that      plaintiff   was    either      misled    about    what    he    was
11   signing, or that he was misled about the nature, scope, or purpose
12   of the release portion of the agreement.
13        Thus, as in Ristau, the general Separation/Release Agreement
14   is sufficient to bar the fraud in the inducement claims.                           The
15   release applies to "all claims known or unknown arising out of
16   Employee's    employment   with      City   and    the     termination      of    that
17   employment relationship through Employee's resignation."                         As in
18   Ristau, the fraud in the inducement claim, as well as all of the
19   claims plaintiff brings in this action, arose before or at the same
20   time as, the execution of the Separation/Release Agreement and all
21   arose   out   of   plaintiff's    employment        with    the     City    and    the
22   termination of that employment through his resignation.                            The
23   Separation/Release Agreement is valid and bars all of plaintiff's
24   state law claims, including the fraud in the inducement claim.
25        The Separation/Release Agreement also bars plaintiff's section
26   1983 claim.    Federal law governs waiver of a section 1983 claim.
27   Jones v. Taber, 648 F.2d 1201, 1203 (9th Cir. 1981).                 A release of
28   section 1983 claims is valid only if it results from a decision

     14 - OPINION & ORDER
 1   that is voluntary, deliberate, and informed. Id. Relevant factors
 2   are:    (1) the clarity and lack of ambiguity of the agreement; (2)
 3   the plaintiff's education and experience; (3) the presence of a
 4   noncoercive atmosphere for the execution of the release; and (4)
 5   whether the employee had the benefit of legal counsel.              Stroman v.
 6   West Coast Grocery Co., 884 F.2d 458, 462 (9th Cir. 1989).            Similar
 7   to Oregon law, under federal law, a release agreement need not
 8   recite the particular claims waived in order to be effective.              Id.
 9   at 461.
10          The language of the Separation/Release Agreement plaintiff
11   signed is clear and unambiguous - plaintiff agreed to release any
12   and all claims against the City and its agents, and he knew that
13   the effect of the release was to bar a civil action.              As Chief of
14   Police, plaintiff was working in a supervisory capacity and had the
15   skills necessary to understand what he was signing.                  He has a
16   degree in personnel management, and in the past, he has disciplined
17   employees and negotiated agreements with them.             At no time before
18   signing the release did plaintiff express the desire to consult an
19   attorney, and he expressly acknowledged in the release that he
20   understood he had the right to discuss the release with anyone he
21   chose.      See    Sep.   Agrmt   at    Section   11.    Finally,   plaintiff
22   acknowledged that he was not threatened, verbally or physically,
23   into signing the document.
24          Additionally, I agree with defendants that the fact that
25   plaintiff actually negotiated with the City regarding the terms of
26   the agreement and the severance he would be paid in consideration,
27   is     further    evidence   that      his   agreement   was   voluntary   and
28   deliberate. Thus, I agree with the City and Gormley that plaintiff

     15 - OPINION & ORDER
 1   entered into the agreement in an informed, voluntary manner.
 2          Plaintiff makes much of the fact that he was not advised to
 3   obtain an attorney and that he did not have one.                              He states that
 4   because he was still an employee of the City, he relied on the City
 5   Attorney      to    insure       that       the    Separation/Release          Agreement    was
 6   "proper."
 7          This argument is unpersuasive. While plaintiff was not orally
 8   advised to seek counsel, it is undisputed that plaintiff received
 9   a draft of the agreement a few days before signing it and that
10   Section      11    of    the     Separation/Release              Agreement     contains    what
11   amounts to a written advice to seek counsel.                                 See Leavitt v.
12   Northwestern Bell Tel. Co., 921 F.2d 160, 163 (8th Cir. 1990)
13   (release of all ERISA claims enforceable when settlement agreement
14   advised the plaintiff of right to seek counsel and plaintiff chose
15   to sign without the benefit of such advice).
16          Plaintiff's assumptions about the role of the City Attorney
17   also    do        not    warrant        a     different          conclusion.       Objective
18   manifestations,           not      unspoken         understandings,          control.       See
19   Lindgren, 307 Or. at 665 n.5, 772 P.2d at 1339 n.5 (in interpreting
20   a   contract,           Oregon     courts         look    to     the   parties'    objective
21   manifestations            rather     than         to     their     secret     intentions     or
22   understandings).           Thus, the Separation/Release Agreement bars the
23   section 1983 claim as well as the other claims.
24          Finally, the Separation/Release Agreement expressly applies to
25   claims against the City.                     It also expressly applies to claims
26   against the City's officers, agents, employees, representatives,
27   and insurers.
28          Plaintiff asserts the release is ineffective as to Gormley

     16 - OPINION & ORDER
 1   because Gormley was acting outside his capacity as Mayor when he
 2   demanded plaintiff's resignation.      No evidence in the record
 3   supports this assertion.
 4         First, on its face, the language of the Separation/Release
 5   Agreement, by referring expressly to officers, agents, employees,
 6   representatives, and insurers, reveals the parties' intention to
 7   broadly apply the release to any person or entity working on behalf
 8   of the City.
 9         Second, in his deposition, Gormley testified that he did not
10   act for himself personally in regard to plaintiff's employment
11   termination and he did not act at the behest or request of anybody
12   else.   There is no evidence in the record to the contrary.     The
13   only reasonable conclusion from the record is that Gormley was
14   acting as Mayor.
15         Third, based on the agreement's language and the record, it is
16   unambiguously clear that the release includes the persons who met
17   with plaintiff on October 24, 2005, to discuss and demand his
18   resignation.   Because Gormley was there in his role as Mayor, the
19   release applies to him.
20         I grant Gormley's and the City's motion for summary judgment
21   based on the Separation/Release Agreement because it bars all
22   claims brought against them.
23   II.   Validity of Separation/Release Agreement as to Brown,
           PSLM, & CCIST
24
           The express language of the Separation/Release Agreement bars
25
     plaintiff's claims against CCIST.   There is no dispute that CCIST
26
     was the City's insurer.
27
           As to Brown and PSLM, the undisputed evidence is that PSLM is
28

     17 - OPINION & ORDER
 1   indistinguishable from Brown and that Brown/PSLM provided services
 2   to CCIST and billed CCIST for his time.             Brown billed both the City
 3   and CCIST for his actions taken in regard to plaintiff's employment
 4   with the City and his resignation.                  Brown also provided some
 5   services to the City without a charge.
 6          The only argument plaintiff raises is that because Brown did
 7   not bill the City or CCIST for all of his time, but chose to
 8   provide some of his services gratis, he was not an agent, officer,
 9   or representative of the City or its insurer.               I disagree.
10          All of the actions Brown took in this case and that plaintiff
11   complains    of,   beginning       with   Scales     talking    to     Brown,    and
12   continuing with Brown calling Gormley, Brown calling Scales, Brown
13   listening to Scales talk to Gormley, Brown attending a meeting with
14   Taylor, Gormley, and others to discuss problems in the police
15   department, Brown making inquiries regarding a possible interim
16   chief, and Brown attending the union meeting, are actions performed
17   in the context of work for the City or for CCIST, regardless of
18   whether Brown billed for his time.            There is no suggestion, and no
19   evidence, that Brown acted as a private citizen in any of these
20   actions.    Thus, he is an agent or representative of the City or
21   CCIST and all claims against him and PSLM are barred by the plain
22   language of the Separation/Release Agreement.
23   III.    Claims Against Farnham
24          Farnham argues that the claims against him should be dismissed
25   because    his   conduct    is    protected    by    the   First     Amendment    as
26   developed under the Noerr-Pennington doctrine.                     I agree with
27   Farnham, except     as     to    the   defamation    claim,    which    I   address
28   separately below.

     18 - OPINION & ORDER
 1             The Noerr-Pennington doctrine derives from the First
          Amendment's guarantee of "the right of the people . . .
 2        to petition the government for a redress of grievances."
          U.S. Const. amend. I.       Under the Noerr-Pennington
 3        doctrine, those who petition any department of the
          government for redress are generally immune from
 4        statutory liability for their petitioning conduct. . . .
          .
 5             The Noerr-Pennington doctrine arose in the antitrust
          context and initially reflected the Supreme Court's
 6        effort to reconcile the Sherman Act with the First
          Amendment Petition Clause. . . .
 7             United Mine Workers v. Pennington, 381 U.S. 657 []
          (1965), extended this antitrust immunity to those
 8        engaging in lobbying activities directed toward executive
          branch officials, regardless of any anticompetitive
 9        intent or purpose. . . .
               Recognizing the constitutional foundation of the
10        doctrine, the Supreme Court has applied Noerr-Pennington
          principles outside the antitrust field. . . . .
11
     Sosa v. DIRECTV, Inc., 437 F.3d 923, 929-30 (9th Cir. 2006) (citing
12
     Eastern R.R. Presidents Conference v. Noerr Motor Freight, Inc.,
13
     365 U.S. 127 (1961); other citations and text omitted).
14
          Earlier, the Ninth Circuit explained that while the Noerr-
15
     Pennington doctrine was "originally promulgated to protect efforts
16
     to influence legislative or executive action from liability under
17
     the Sherman Act[,]" the protection "has been expanded to apply to
18
     petitions to courts and administrative agencies . . . as well as to
19
     preclude claims other than those brought under the antitrust laws."
20
     Oregon Natural Resources Council v. Mohla, 944 F.2d 531, 533-34
21
     (9th Cir. 1991) (citation omitted); see also Empress, LLC. v. City
22
     & County of San Francisco, 419 F.3d 1052, 1057 (9th Cir. 2005)
23
     (applying Noerr-Pennington to 42 U.S.C. § 1983 claim).
24
          Noerr-Pennington protection is available regardless of the
25
     actor's   motive.      E.g.,   City   of   Columbia   v.   Omni   Outdoor
26
     Advertising, Inc., 499 U.S. 365, 380 (1991) ("That a private
27
     party's political motives are selfish is irrelevant"); Pennington,
28

     19 - OPINION & ORDER
 1   381 U.S. at 670 ("Noerr shields . . . a concerted effort to
 2   influence public officials regardless of intent of purpose");
 3   Noerr, 365 U.S. at 139 ("The right of the people to inform their
 4   representatives in government of their desires with respect to the
 5   passage or enforcement of laws cannot properly be made to depend
 6   upon their intent in doing so").
 7        Noerr-Pennington     applies      to     claims     for      intentional
 8   interference   with   contract   or   prospective      economic   advantage.
 9   E.g., Video Int'l Prod., Inc. v. Warner-Amex Cable Comm'ns, Inc.,
10   858 F.2d 1075, 1084 (5th Cir. 1988) (applying Noerr-Pennington to
11   common law tortious interference with contract claim); Sierra Club
12   v. Butz, 349 F. Supp. 934, 938 (N.D. Cal. 1972) (applying Noerr-
13   Pennington to claim of interference with advantageous relationship
14   when the "interference" consisted of petitioning a governmental
15   body to alter policy).
16        Here, other than the defamation claim, Farnham's conduct is
17   protected by Noerr-Pennington because his actions in talking to
18   other citizens, collecting complaints, writing to Gormley, and
19   attending a meeting in which problems in the police department were
20   discussed, are appropriately viewed as petitioning City officials
21   in order to influence a decision regarding plaintiff's tenure as
22   Chief of Police.
23        While   Noerr-Pennington    protects     a    citizen's   attempts   to
24   influence governmental decision-making, it does not shield alleged
25   defamatory   statements   made   during     that   petitioning.      Rather,
26   McDonald v. Smith, 472 U.S. 479 (1985), teaches that the right to
27   petition the government is not absolute.
28        In McDonald, the plaintiff alleged that the defendant libeled

     20 - OPINION & ORDER
 1   him by writing letters containing allegedly false, slanderous, and
 2   derogatory statements, to then-President Reagan concerning the
 3   plaintiff's possible appointment as United States Attorney for
 4   North Carolina.   Id. at 480-81.   The defendant moved for judgment
 5   on the pleadings, arguing that the First Amendment's petition
 6   clause gave him absolute immunity from liability.
 7        The Court rejected this argument, noting that while "the
 8   values in the right of petition as an important aspect of self-
 9   government are beyond question, it does not follow that the Framers
10   of the First Amendment believed that the Petition Clause provided
11   absolute immunity from damages for libel."   Id. at 483.   The Court
12   explained that
13             [t]o accept petitioner's claim of absolute immunity
          would elevate the Petition Clause to special First
14        Amendment status.    The Petition Clause, however, was
          inspired by the same ideals of liberty and democracy that
15        gave us the freedoms to speak, publish, and assemble. .
          . . These First Amendment rights are inseparable, . . .
16        and there is no sound basis for granting greater
          constitutional protection to statements made in a
17        petition to the President than other First Amendment
          expressions.
18
               Under state common law, damages may be recovered
19        only if petitioner is shown to have acted with malice;
          "malice" has been defined by the Court of Appeals of
20        North Carolina, in terms that court considered consistent
          with New York Times Co. v. Sullivan, 376 U.S. 254 []
21        (1964), as "knowledge at the time that the words are
          false, or . . . without probable cause or without
22        checking for truth by the means at hand." . . . We hold
          that the Petition Clause does not require the State to
23        expand this privilege into an absolute one. The right to
          petition is guaranteed; the right to commit libel with
24        impunity is not.
25   Id. at 485 (citations omitted).
26        Other courts have similarly read McDonald as controlling and
27   have rejected Noerr-Pennington's application to defamation claims.
28   E.g., Chevalier v. Animal Rehab. Ctr., 839 F. Supp. 1224, 1236

     21 - OPINION & ORDER
 1   (N.D. Tex. 1993) (in action for civil conspiracy, defamation, and
 2   intentional infliction of emotional distress arising out of letters
 3   sent to government officials regarding plaintiff's work, the court
 4   rejected the defendants' argument that Noerr-Pennington provided
 5   absolute privilege and immunity from the plaintiff's defamation
 6   claim; court explained that the defamation claim was not based on
 7   the defendants' attempt to influence governmental decision-making
 8   but rather challenged the defamation that occurred during the
 9   petition); Myers v. Levy, 348 Ill. App. 3d 906, 918-19, 808 N.E. 2d
10   1139, 1150-51, 283 Ill. Dec. 851, 862-63 (2004) (court rejected
11   application of Noerr-Pennington to bar defamation claim when claim
12   was   not    directed      to   the   defendant's      attempt   to     influence
13   governmental     decision-making       but   instead    was   directed     to    the
14   alleged defamation that occurred during that petitioning).
15         Although      Noerr-Pennington     does   not    provide       Farnham    with
16   immunity from the defamation claim, I nonetheless grant summary
17   judgment to Farnham on this claim.              I agree with Farnham that
18   plaintiff fails to show that Farnham acted with actual malice.
19         As a public official, plaintiff must prove that Farnham acted
20   with "actual malice."           New York Times Co. v. Sullivan, 376 U.S.
21   254, 279-80 (1964); see also Koch v. Laborico, 66 Or. App. 78, 85,
22   674   P.2d   602,    606    (1984)    (police   sergeant      with    substantial
23   responsibility for and control over the conduct of governmental
24   affairs, was "public official" for purposes of New York Times
25   actual malice rule); McNabb v. Oregonian Publ'g Co., 69 Or. App.
26   136, 139-40, 685 P.2d 458, 460 (1984) (police officer was "public
27   official" for purposes of New York Times actual malice rule).
28         Plaintiff has the burden to show, by clear and convincing

     22 - OPINION & ORDER
 1   evidence, that Farnham knew of the falsity of the statements at
 2   issue, or acted in reckless disregard of their truth or falsity.
 3   New York Times, 376 U.S. at 279-80; Dodds v. American Broadcasting
 4   Co.,    145   F.3d   1053,      1060    (9th    Cir.   1998)    (to   survive    the
 5   defendant's     motion    for     summary      judgment,   the     public    figure
 6   plaintiff had to establish that a reasonable jury could find by
 7   clear and convincing evidence that the defendant published the
 8   challenged statements with knowledge of their falsity or with
 9   reckless disregard for their truth or falsity).
10          Plaintiff's defamation claim against Farnham is based on the
11   two-page memorandum Farnham sent to Gormley after Farnham conducted
12   his "investigation" of plaintiff's performance.                   The memorandum,
13   Plaintiff's Exhibit 18, contains both opinions and assertions of
14   fact.     Pltf's Exh. 18.           Farnham also repeats statements and
15   opinions he obtained from others.               Id.
16          While plaintiff attempts to show the falsity of much of the
17   assertions in the memorandum, he fails to show that when Farnham
18   made any of the statements, or repeated those originally made by
19   others, he knew they were false or recklessly disregarded their
20   truth or falsity.
21          Farnham testified that as far as he knows, everything in the
22   memorandum is true.      Farnham's Depo. at p. 25.             Plaintiff offers no
23   evidence to undermine or contradict Farnham's testimony.                    See Bose
24   Corp. v. Consumers Union of U.S., Inc., 466 U.S. 485, 511 n.30
25   (1984)   (plaintiff      must    show    that    the   defendant      realized   the
26   statement was false or that he subjectively entertained serious
27   doubt about its truth).
28          Plaintiff suggests that because Farnham never inquired of

     23 - OPINION & ORDER
 1   plaintiff, or others, during his investigation about the statements
 2   made in the memorandum, a jury could find that Farnham acted in
 3   reckless disregard of the truth or falsity of those statements.
 4   Plaintiff's argument is wrong as a matter of law.                New York Times,
 5   376 U.S. at 284 (actual malice is not presumed); Londsale v. Swart,
 6   143 Or. App. 331, 339, 922 P.2d 1263, 1268 (1996) (actual malice
 7   may not be inferred from the fact of defamatory publication alone
 8   or from a failure to verify statements from an adequate source or
 9   from a "slipshod investigation.").
10          Farnham is entitled to summary judgment on the defamation
11   claim.      Accordingly, I grant summary judgment to Farnham on all of
12   plaintiff's claims.
13   IV.    Discussion of Individual Claims
14          Although defendants are entitled to summary judgment for the
15   reasons discussed above, I offer alternative holdings on the merits
16   of several individual claims.
17          A.    Intentional Interference with Contract
18          In his fourth claim for relief, plaintiff alleges that Gormley
19   intentionally interfered with his contractual relationship with the
20   City   through      the    improper     means    of   defrauding   or   deceiving
21   plaintiff,     or   with    an   improper       purpose   to   wrongfully   obtain
22   plaintiff's resignation.          Id.
23          The elements of this claim are:                (1) the existence of a
24   professional business relationship; (2) intentional interference
25   with that relationship or advantage; (3) by a third party; (4)
26   accomplished through improper means or for an improper purpose; (5)
27   a causal effect between the interference and the harm to the
28   relationship or prospective advantage; and (6) damages.                  Allen v.

     24 - OPINION & ORDER
 1   Hall, 328 Or. 276, 281, 974 P.2d 199, 202 (1999); McGanty v.
 2   Staudenraus, 321 Or. 532, 535-36, 901 P.2d 841, 844 (1995).
 3        Gormley argues that plaintiff cannot, as a matter of law,
 4   establish the third element requiring interference by a third party
 5   because as Mayor, he was an agent of the City and thus, was a
 6   "party" to any contract between the City and plaintiff.                 As a
 7   result, he cannot be considered a "third party."
 8        A party to a contract cannot be liable for interference with
 9   that contract.     McGanty, 321 Or. at 537, 901 P.2d at 844; Ziebert
10   v. Sun Valley Lumber, Inc., 198 Or. App. 162, 170, 107 P.3d 668,
11   672 (2005).   Here, for the reasons discussed above in regard to the
12   Separation/Release Agreement's application to the claims against
13   Gormley, the record establishes that Gormley acted only as Mayor
14   and thus, is considered an agent or official of the City.               As a
15   matter of law, he is not a third party.             Accordingly, Gormley is
16   entitled to summary judgment on this claim.
17        In his fifth claim for relief, plaintiff argues that Brown and
18   PSLM intentionally interfered with his contractual relationship
19   with the City through the improper means of defrauding or deceiving
20   plaintiff,    or   with   an   improper   purpose    to   wrongfully   obtain
21   plaintiff's resignation.
22        I grant summary judgment to these defendants because the
23   evidence fails to show that they acted wrongfully or that their
24   actions caused the alleged interference.            Brown's early November
25   2005 appearance at the union meeting could not have caused the
26   alleged wrongful resignation because the meeting occurred after
27   plaintiff's resignation was sought and obtained.              Brown's other
28   activities,    which      occurred   before   or     simultaneously    with,

     25 - OPINION & ORDER
 1   plaintiff's resignation, are not in and of themselves wrongful and
 2   thus, they cannot be the basis of an intentional interference
 3   claim.
 4        B.        Intentional    Interference     with    Prospective    Business
                    Relations
 5
          Plaintiff brings this claim against Brown, PSLM, and Farnham,
 6
     arguing that they interfered with his prospective employment with
 7
     the City of Salem and that the interference was through an improper
 8
     means or an improper purpose.
 9
          This claim cannot succeed in the absence of any evidence that
10
     Brown or Farnham knew about plaintiff's application with the City
11
     of Salem.        Additionally, and more fundamentally, there is no
12
     evidence, other than plaintiff's conjecture, that he was not
13
     offered    the    City   of   Salem   job    because   of    his   resignation.
14
     Plaintiff concedes that he has no information from any source that
15
     his resignation was the reason the City of Salem failed to hire
16
     him. Thus, summary judgment is granted to Brown, PSLM, and Farnham
17
     on this claim.
18
          C.    Conspiracy Claims
19
          In these claims, brought against the City, Gormley, Brown,
20
     PSLM,    and    Farnham,     plaintiff   contends     that   these   defendants
21
     conspired to defraud him (ninth claim), conspired to interfere with
22
     his contract rights (tenth claim), and conspired to interfere with
23
     his prospective business relations (eleventh claim).
24
          In the absence of a statute or exceptional circumstances,
25
     conspiracy is not an independent tort under Oregon law.                Bliss v.
26
     Southern Pac. Co., 212 Or. 634, 642, 321 P.2d 324, 328 (1958).
27
     However, while a civil conspiracy is not a separate theory of
28

     26 - OPINION & ORDER
 1   recovery, it is one of several ways in which a person may become
 2   jointly liable for another's tortious conduct.                Granewich v.
 3   Harding, 329 Or. 47, 53, 985 P.2d 788, 792 (1999).            Thus, "under
 4   certain circumstances, it is permissible to impute the tortious
 5   acts of one defendant to others acting in concert with that
 6   defendant."   Id. at 55, 985 P.2d at 793.
 7        As established in Granewich,
 8        when a plaintiff alleges and proves that several
          defendants conspired to commit a tort upon him, all the
 9        defendants involved in the conspiracy can be held liable
          for the overt act which is committed by one of the
10        defendants pursuant to the conspiracy. If a conspiracy
          is not proved, only those defendants can be held liable
11        who are alleged and proved to have personally committed
          a tortious overt act against the plaintiff.
12
     Id. at 58, 985 P.2d at 795 (internal quotation omitted).
13
          Plaintiff   concedes    that   a    civil   conspiracy    is   not   an
14
     independent tort, but following Granewich, he contends that the
15
     factfinder in this case could reasonably conclude that there was a
16
     meeting of the minds among two or more of the defendants to
17
     wrongfully and fraudulently obtain his resignation.            The problem
18
     for plaintiff is that it is not tortious for any of the defendants
19
     to seek a resignation.      The fact that these defendants may have
20
     acted in concert to seek plaintiff's resignation is not a meeting
21
     of the minds to commit a tort.      Thus, I grant summary judgment to
22
     the defendants named in the three conspiracy claims.
23
          D.   Wrongful Discharge
24
          Plaintiff   brings   this   claim    against   the   City.      Oregon
25
     recognizes common law claims for wrongful discharge in the context
26
     of at-will employment relationships when the employee alleges he or
27
     she has been discharged for fulfilling a societal obligation or for
28

     27 - OPINION & ORDER
 1   pursuing    an   employment-related   right   of   a   public   importance.
 2   Dunwoody v. Handskill Corp., 185 Or. App. 605, 609-12, 60 P.3d
 3   1135, 1138-39 (2003).      Here, there are no facts suggesting that
 4   plaintiff was "discharged" for fulfilling a societal obligation or
 5   for pursuing an employment-related right of public importance.           I
 6   grant summary judgment to the City on the wrongful discharge claim.
 7        E.    Negligence
 8        Plaintiff brings this claim against all defendants. Plaintiff
 9   cannot prevail, however, because he has suffered no physical injury
10   and he has no special relationship with defendants creating a
11   heightened duty of care.
12                    One   ordinarily   is  not   liable   for
                 negligently   causing  a   stranger's   purely
13               economic loss without injuring his person or
                 property. . . . Instead, the plaintiff is
14               required to allege some source of a duty
                 outside the common law of negligence. . . .
15               [L]iability for purely economic harm must be
                 predicated on some duty of the negligent actor
16               to the injured party beyond the common law
                 duty to exercise reasonable care to prevent
17               foreseeable harm.
18   Oregon Steel Mills, Inc. v. Coopers & Lybrand, LLP, 336 Or. 329,
19   341, 83 P.3d 322, 328 (2004) (citations and internal quotations
20   omitted).
21        As a matter of law, an employee-employer relationship is not
22   one in which the employer has a "duty" to pursue the interests of
23   its employees.     Conway v. Pacific Univ., 324 Or. 231, 243, 924 P.2d
24   818, 826 (1996). Such a relationship is not a special relationship
25   able to support a negligence claim for purely economic damages.
26   Thus, as to the City, there is no basis for a heightened duty of
27   care.   There is also no basis for finding a "special relationship"
28   capable of supporting a negligence claim for only economic damages

     28 - OPINION & ORDER
 1   between plaintiff and any of the other defendants named in this
 2   claim.      I grant summary judgment to the defendants named in this
 3   claim.
 4          F.   Defamation
 5          Plaintiff brings the claim against all defendants except
 6   CCIST. The defamation claim as to Farnham is discussed above.            As
 7   to   Brown    and   PSLM,   plaintiff   acknowledges   that   he   has   no
 8   information or evidence that Brown said anything defamatory about
 9   him.     Thus, I grant summary judgment to those defendants on the
10   defamation claim.
11          As to Gormley and the City, the basis for the claim is a
12   conversation Gormley allegedly had with Allan Springer, a member of
13   the City Council, during which Gormley allegedly told Springer that
14   plaintiff had a substance abuse problem, used drugs, had an anger
15   management problem, was mentally unbalanced, and lunged at city
16   Finance Director Carole Benedict.
17          The City and Gormley contend that the alleged statements are
18   protected by conditional privilege or alternatively, that plaintiff
19   cannot show actual malice.       I agree with the City and Gormley on
20   both arguments.
21          "A statement is conditionally privileged if: (1) it was made
22   to protect the interests of defendants; (2) it was made to protect
23   the interests of plaintiff's employer; or (3) it was on a subject
24   of mutual concern to defendants and the persons to whom the
25   statement was made."        Wattenburg v. United Med. Labs., Inc., 269
26   Or. 377, 380, 525 P.2d 113, 114 (1974); see also Benassi v. Georgia
27   Pacific, 62 Or. App. 698, 702, 662 P.2d 760, 763 (1983) ("A
28   qualified, or conditional, privilege to make a defamatory statement

     29 - OPINION & ORDER
 1   arises, among other occasions, when it is made to protect the
 2   interests of the plaintiff's employer or it is on a subject of
 3   mutual concern to the defendant and those to whom it is made.").
 4   Generally, unless the underlying facts are in dispute, whether a
 5   communication is conditionally privileged is a matter of law for
 6   the court.     Worley v. Oregon Physicians Serv., 69 Or. App. 241,
 7   247-48, 686 P.2d 404, 408-09 (1984) (citing Peck v. Coos Bay Times
 8   Publ'g Co., 122 Or. 408, 421-22, 259 P. 307, 312 (1927)).
 9          Here, Gormley, as Mayor, and Springer, as a member of the City
10   Council, enjoyed a conditional privilege to discuss plaintiff
11   because plaintiff's tenure as police chief is clearly a subject of
12   mutual concern to Gormley and Springer.        Plaintiff fails to show
13   any evidence suggesting that the conversation between Gormley and
14   Springer does not meet this test.
15          Alternatively, as discussed above in connection with the claim
16   against Farnham, because plaintiff is a public figure, he must
17   show, by clear and convincing evidence that Gormley knew the
18   statements he made were false or made them in reckless disregard of
19   their truth or falsity.     Plaintiff puts forth no evidence to show
20   that Gormley possessed knowledge of the falsity of these alleged
21   statements at the time he made them.           Plaintiff contends that
22   Gormley should have asked plaintiff about the truth or falsity of
23   these statements before he made them and that his failure to do so
24   amounts to reckless disregard of their truth or falsity.          But, as
25   with    the   claim   against   Farnham,   a   failure   to   perform   an
26   investigation does not establish reckless disregard. Thus, I grant
27   summary judgment to Gormley and the City on the defamation claim.
28   / / /

     30 - OPINION & ORDER
 1   V.    Plaintiff's Motion to Conform
 2         I deny plaintiff's motion to conform as moot because even
 3   assuming plaintiff sent a timely tort claim notice to CCIST, Brown,
 4   and PSLM, his claims are dismissed for the reasons discussed above.
 5   VI.    Defendants' Motions to Strike
 6         I deny the defendants' motions to strike as moot because even
 7   with the evidence in the record, defendants are entitled to summary
 8   judgment.
 9                                 CONCLUSION
10         Defendants' motions for summary judgment (#28, 32, 37), are
11   granted.    Plaintiff's motion to conform (#48), and defendants'
12   motions to strike (#70, 74, 78), are denied as moot.
13         IT IS SO ORDERED.
14                          Dated this   12th   day of   February   , 2008.
15
16
17                                            /s/ Dennis James Hubel
                                            Dennis James Hubel
18                                          United States Magistrate Judge
19
20
21
22
23
24
25
26
27
28

     31 - OPINION & ORDER
